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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

WILDEARTH GUARDIANS et al.,
                                         Case No. 1:21-cv-00175-RC
      Plaintiffs,                        The Honorable Rudolph Contreras

              v.

DEBRA HAALAND in her official capacity
as Secretary of the Interior, et al.,

      Federal Defendants,

              and

AMERICAN PETROLEUM INSTITUTE,
STATE OF WYOMING, NAH UTAH LLC,
and ANSCHUTZ EXPLORATION
CORPORATION,

     Defendant-Intervenors.


      FEDERAL DEFENDANTS’ SECOND REPLY IN SUPPORT OF THEIR
        MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
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        Federal Defendants respectfully submit this second reply brief in support of their remand

motions in three different lawsuits currently before the Court. 1 This reply responds to the

Response brief submitted by Plaintiffs. 2 Plaintiffs “do not oppose BLM’s Motion for Voluntary

Remand Without Vacatur, subject to this Court maintaining continuing jurisdiction pending the

remand and Conservation Groups’ ongoing settlement negotiations with BLM.” ECF No. 61, at

2. As explained below, the Court should grant voluntary remand without the conditions that

Plaintiffs seek to place on it.

        The Court should not maintain jurisdiction pending ongoing settlement negotiations

between Plaintiffs and BLM. While Plaintiffs and BLM have reached a tentative settlement

framework, numerous potential stumbling blocks remain to settling the litigation. Formal

settlement language must be negotiated; approval within the federal government must be

obtained; and Plaintiffs will ask the Court to approve the settlement agreement (potentially over

the objections of Defendant-Intervenors). Rather than pursuing a course of action that will

expend scarce government and judicial resources on further litigation activity, the Court should

grant the pending voluntary remand motions, as Plaintiffs do not oppose them, let alone provide

a reason why the Court should deny them.

        Nor should the Court maintain jurisdiction pending remand. Plaintiffs have twice

previously requested that the Court retain jurisdiction pending a voluntary remand. Pls.’ Resp. to

Fed. Defs.’ Mot. for Voluntary Remand 10, WildEarth Guardians v. Haaland, Case No. 20-cv-



1
  Federal Defendants previously submitted a reply brief responding to the oppositions from
Intervenor-Defendants. ECF No. 59.
2
  Plaintiffs filed largely identical response briefs across all three lawsuits. In the interests of
brevity, Federal Defendants submit this single reply brief to Plaintiffs’ response. Unless
otherwise indicated, docket references are to WildEarth Guardians v. Haaland, Case No. 21-cv-
175. The other two cases before the Court are WildEarth Guardians v. Haaland, Case No. 16-
cv-1724, and WildEarth Guardians v. Haaland, Case No. 20-cv-56.
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56, ECF No. 42 (Sept. 14, 2020) (requesting that the Court “retain jurisdiction over this matter

throughout the remand process”); Pls.’ Mot. to Amend J. & Mem. in Supp. 8–9, WildEarth

Guardians v. Bernhardt, No. 16-1724 (RC), ECF No. 108 (June 4, 2019) (asking the Court to

“retain jurisdiction over the remand” that BLM had voluntarily sought). And the Court twice

rejected those requests. Order, WildEarth Guardians v. Haaland, Case No. 20-cv-56, ECF No.

46 (Oct. 23, 2020); Mem. Op., WildEarth Guardians v. Bernhardt, No. 16-1724 (RC), ECF No.

121 (July 19, 2019). As the Court explained, “[t]o the extent that Plaintiffs wish to challenge the

adequacy of BLM’s new NEPA analysis” that may issue on remand, “they must supplement their

complaint to raise these new claims,” or bring a new suit. Mem. Op. at 8.

       In conclusion, Federal Defendants respectfully request that the Court “follow [its]

familiar, trod path” of voluntary remand without vacatur. Booking v. Gen. Star Mgmt. Co., 254

F.3d 414, 418 (2d Cir. 2001) (Cabranes, J.). That result “is generally required if [an] intervening

event may affect the validity of the agency action.” Am. Waterways Operators v. Wheeler, 427

F. Supp. 3d 95 (D.D.C. 2019), reconsideration denied, 507 F. Supp. 3d 47 (D.D.C. 2020).




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Respectfully submitted this 16th day of September, 2021.

                                                   TODD KIM
                                                   Assistant Attorney General
                                                   Environment & Natural Resources Division
                                                   U.S. Department of Justice

                                                   /s/ Michael S. Sawyer
                                                   MICHAEL S. SAWYER
                                                   Trial Attorneys, Natural Resources Section
                                                   Ben Franklin Station, P.O. Box 7611
                                                   Washington, D.C. 20044-7611
                                                   Telephone: (202)-514-5273
                                                   Fax: (202) 305-0506
                                                   Email: michael.sawyer@usdoj.gov

                                                   Counsel for Federal Defendants




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